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Southern District
Federal Defenders 52 Duane Street-10th Floor, New York, NY 10007
OF NEW YORK, INC. Tel: (212) 417-8700 Fax: (212) 571-0392
David E. Patton Southern ret of New York

Executive Director

: Atromey-in-Charge
and Attorney-in-Chief

October 14, 2020

BY ECF

Honorable Andrew L. Carter, Jr
United States District Judge
Southern District of New York
Thurgood Marshall Courthouse,
40 Foley Square,

New York, New York 10007

Re: United States v. Lawrence Bruce
20 Cr. 167 (ALC)

Dear Judge Carter,

I respectfully write on behalf of my client, Lawrence Bruce, to request that
Mr. Bruce’s bail conditions be modified. Mr. Bruce is currently on home
incarceration. We would like to modify this condition to home detention, so Mr.
Bruce can occasionally leave the house with permission from his Pre-Trial Services
officers, Carlos Ramirez or Noah Joseph. Pre-Trial consents to the modification and
the government defers to Pre-Trial. Pre-Trial Services has also asked that if this
change is approved, the condition of drug testing and treatment be added.

On May 8*, 2020, Your Honor ordered the following bail conditions for Mr.
Bruce: $50,000 PRB; 1 FRP; Travel restricted to SDNY/EDNY; Surrender all Travel
Documents and make no new applications; Pretrial Supervision as directed by PTS;
Electronic Monitoring; Def. not to possess firearm/destructive device/other weapon.
Since his release, Mr. Bruce has complied with all the conditions of his release.

Respectfully submitted,

/s/

Jennifer Kk. Willis

Assistant Federal Defender
‘212- 417- 8743 . mee

a application i is V granted,

yee,

Andrew L.. Carter Jr, U.S.D.J.
Dated: Ocrober \by 2OZO
NY, New York

ce: All counsel on record (ECF)
Carlos Ramirez (PTSO)

   

 
